
*329WIENER, Circuit Judge:
“Rule 4(a)(1) of the Federal Rules of Appellate Procedure provides that a party who wants to appeal a judgment or order entered in a civil case must file a notice of appeal with the clerk of the district court within 30 days after the date of entry of the judgment or order from which the appeal will be taken. Rules 4(a)(5) and (6) provide that the district court may, upon motion, extend [or reopen] the time for filing a notice of appeal. Rule 4(a)(5) is available to a party who shows excusable neglect or good cause for failing to file within the 30 days provided; Rule 4(a)(6) may be applied where the court finds that the moving party did not receive notice of the entry of a judgment or order ‘from the [district court] or any party within 21 days of its entry’ and that no other party would be prejudiced by allowing the filing of a late notice of appeal. Relief under 4(a)(6) is available only ‘upon motion filed within 180 days of entry of the judgment or order or within 7 days of receipt of such notice, whichever is earlier.’ ”
“This case raises the question whether the seven-day filing window of Rule 4(a)(6) is opened when a party receives [fax] notice of the entry of a judgment or order from [the district court].”1 For the reasons hereafter set forth, we answer that question in the affirmative and dismiss this appeal.
I.
FACTS AND PROCEEDINGS
Petitioner-Appellant James Joseph Wilkens, Jr. is currently on death row in Texas awaiting execution after being con-' victed and sentenced to death by a state court jury in Texas. Presumably having exhausted his direct and collateral appeals under state law, Wilkens sought habeas relief in federal district court. On June 18, 1999, the district court entered judgment denying Wilkens’s petition. Although an entry in the district court’s docket sheet for this case reflects that the clerk mailed copies of the Final Judgment and Denial of Motions (the “judgment”) to the attorneys of record that same day,2 counsel for Wilkens avers that he never received a copy until, at the request of the staff attorney for the district court, a copy was “faxed” to him by the court on September 7,1999.3
A subsequent docket entry, this one dated October 7, 1999, confirms that Wilkens filed a Motion for Leave to File Late Notice of Appeal on October 4, 1999. Docket entries dated October 13, 1999 reflect three filings on October 12, 1999:(1) The district court’s order granting Wilkens’s October 4 motion, (2) Wilkens’s notice of appeal (“NOA”), and (3) Wilkens’s motion to proceed in forma pauperis (“IFP”) on appeal. In November, the court granted Wilkens’s motion to proceed IFP on appeal and issued a certificate of appealability (“COA”).
II.
ANALYSIS
A threshold question implicit in every ease that comes before us is whether *330we have appellate jurisdiction. Respondent-Appellee Johnson has not questioned our jurisdiction; on the contrary, he has filed a “Non-Opposition to Petitioner’s Out-of-Time Appeal” declining, “in the interest of justice,” to oppose appellate review of the district court’s judgment. Even absent a challenge by a litigant, however, we must examine the basis of our jurisdiction sua sponte4: A party cannot waive a defect in appellate jurisdiction;5 neither can jurisdiction be created by mutual consent -of the parties.6 The timely filing of a valid NOA is a mandatory precondition to the exercise of appellate jurisdiction.7 Consequently, we must determine whether Wilkens’s NOA is somehow sufficient to satisfy this mandatory prerequisite to our hearing his case on appeal even though his NOA was not filed until almost four months after entry of judgment. Central to this inquiry is whether the district court’s October 12, 1999 order granting Wilkens’s October 4 motion for leave to file his NOA out of time is valid; if it is not, then neither is Wilkens’s NOA or the district court’s subsequently granted COA.
Notwithstanding the reason for a petitioner’s being in custody — here, his conviction of a crime punishable by death — a petition for a writ of habeas corpus filed in federal court is a civil proceeding.8 Thus the Federal Rules of Civil Procedure (“Fed.R.Civ.P.”) govern habeas proceedings in the district court, and the civil provisions of the Federal Rules of Appellate Procedure (“Fed.R.App.P.”) govern habeas proceedings on appeal.
The judgment of the district court in this case was entered on June 18, 1999; Wilkens’s NOA was not filed until October 12, 1999, considerably more than the specified maximum of 30 days after entry of judgment.9 We are without jurisdiction to hear Wilkens’s appeal, then, unless his late-filed NOA is somehow rescued by proceedings that comply with Rule 4(a)’s provisions for extending10 or reopening11 the time within which to file an NOA. A non-federal party to civil litigation in federal district court who fails to file an NOA within Rule 4(a)(l)’s 30-day period following entry of the order or judgment from which an appeal is sought still has available two lifelines for rescuing his appeal through a late-filed notice of appeal. One is the extension lifeline specified in Rule 4(a)(5) (“section (5)”), and the other is the reopening lifeline specified in Rule 4(a)(6) (“section (6)”).
Section (5) makes clear that the only time the district court is empowered to toss the extension lifeline to a putative appellant is when a motion seeking extension is filed no later than 30 days after expiration of the original 30 days specified in Rule 4(a)(1)(A), i.e., no later than 60 days after entry of the order or judgment from which appeal is sought. Only then can the district court even consider whether either of section (5)’s two exclusive grounds for granting such an extension— excusable neglect or good cause — has been demonstrated. As Wilkens did not file a motion for extension of time to file his NOA within 60 days following the June 18, 1999 entry of judgment, section (5)’s lifeline for extending the time for filing an NOA had ceased to be available to Wilkens *331or to the district court long before October, 1999.
That said, only section (6)’s reopening lifeline remains as a possibility for rescuing Wilkens’s late-filed NOA.12 Section (6) is the exclusive authority for the district court to order the reopening of an otherwise expired and no longer extendable time for filing an NOA. A district court has authority to toss the reopening lifeline to a putative appellant only after a motion to reopen is filed by a party who is eligible to do so under the provisions of section (6); the district court cannot reopen sua sponte.13 And, a party’s eligibility to file a motion to reopen is governed exclusively by the three subparts of section (6), i.e., Rule 4(a)(6)(A) (“subpart (A)”), (B) (“sub-part (B)”), and (Q (“subpart (C)”).
Subpart (B) is the gatekeeper provision of section (6). It specifies that only a party who (1) was entitled to notice of entry of judgment,14 but (2) did not receive notice from either (a) the district court or (b) any party (3) within 21 days after entry of judgment, is eligible to file a motion to reopen. None contest that Wilkens was entitled to notice of entry of judgment under Rule 77(d) or that he did not actually receive notice from the court or any party within 21 days after entry, so he meets subpart (B)’s threshold requirements for eligibility to seek reopening. This leaves only subpart (A) for us to consider.
Under subpart (A), a party such as Wilkens who meets the criteria of subpart (B) is eligible to file a section (6) motion to reopen and attempt to demonstrate the absence of prejudice as required by sub-part (C).15 For the moving party to be eligible to obtain a valid reopening order from the district court, however, he must have filed his motion seeking to reopen by the earlier of (1) 180 days after entry of judgment or (2) seven days after he “receive[d] notice of entry” of judgment. Absent the timely filing of such a motion, the court is powerless to reopen the time for filing an NOA. It is not disputed that Wilkens’s October 4, 1999 motion for permission to file an NOA out of time was filed (1) well before the expiration of the 180-day period after the entry of judgment on June 18, 1999, but (2) well after the expiration of the seven-day period following his counsel’s actual receipt of the facsimile copy of the judgment on September 7,1999.
In light of these undisputed facts, our final question — one of law, not fact — is whether the copy of the court’s judgment *332that was faxed by the district clerk’s office on September 7, 1999 and received in hand by counsel for Wilkens that same day, qualified as “notice of the entry [of the judgment]” for the purpose of opening-subsection (A)’s alternative seven-day motion filing window. If the faxed copy did not qualify, then (1) the 180-day period applied, (2) the reopening lifeline remained available, and (3) Wilkens’s October 4, 1999 motion, the court’s October 12 order granting that motion, and Wilkens’s October 12 NOA, were all timely filed; and we would have jurisdiction to hear this appeal. If, however, the fax copy of the judgment did qualify as notice for purposes of sub-part (A), then (1) the seven-day provision applied, (2) it trumped the 180-day provision by being the earlier of those two alternatives, and (3) Wilkens’s motion, the court’s order, and Wilkens’s NOA are absolute nullities and we would have no jurisdiction to consider this appeal. It’s as simple as that.
Unlike Rule 4(a)(1) and subpart (B) of section (6‘), nothing in subpart (A) of section (6) purports to ascribe any particular qualities or formalities to the words “receive” or “notice”: There’s nothing about the physical attributes of the notice (oral or written; electrostatic, carbon, or certified copy, etc.); nothing about who must furnish the notice (the court, the clerk, the party opposite, an interested or disinterested third party, etc.); nothing whatsoever about delivery of the notice, much less specification of a particular method of delivery (service of process, ordinary mail, registered mail, certified mail, e-mail, hand delivery, facsimile delivery, etc.); and nothing about who other than the moving party is authorized to receive the notice (counsel for moving party, responsible party in home or office, etc.). When we read the plain language of sub-part (A), we can reach no conclusion but that the fax copy of the judgment — sent by the clerk of the district court and received in hand by counsel of record for Wilkens, more than 21 days but less than 180 days after entry of judgment — was sufficient to open subpart (A)’s seven-day window of opportunity within which Wilkens could have and must have filed a motion to reopen or forever be precluded from seeking to reopen.
In sum, irrespective of whether the plain words of subpart (A) are read in a vacuum or in pari materia with the plain words of Rule 4(a) in its entirety, the message of subpart (A) is pellucid: Any written16 notice of entry received by the potential appellant or his counsel (or conceivably by some other person), regardless of how or by whom sent, is sufficient to open subpart (A)’s seven-day window.17 This conclusion is also consistent with relevant jurisprudence from other circuits, which we now examine briefly.18
*333The Ninth Circuit in Nunley v. City of Los Angeles embraced the concept of actual notice for starting the seven-day period.19 The Nunley court ruled that the seven-day period began to run when the potential appellant’s attorney happened to spot the entry of the order adverse to his client while simply perusing the clerk’s docket records. No formal service; no sending of notice whatsoever; no “hard copy” of the notice in hand; yet, in the Ninth Circuit’s view, still the receipt of notice of entry sufficient to trigger the seven-day clock. The court so held because counsel “received” actual notice, and subpart (A) specifies nothing more formal than that. Similarly, in Zimmer St. Louis, Inc. v. Zimmer Co., the Eighth Circuit indicated in dicta that the seven-day period was triggered when counsel received oral notice from the judge’s clerk that the adverse order had been entered.20 And the First Circuit in Scott-Harris v. City of Fall River,21 despite concluding that unit-ten notice is required to trigger the seven-day time period under subpart (A),22 recently held that counsel’s receipt of a written “demand for satisfaction of judgment” — distinct from notice of entry or the judgment itself — was sufficient to open subpart (A)’s seven-day filing window.23
More directly on point is a case from the Second Circuit which supports our conclusion today that actual receipt in hand by Wilkens’s counsel of a facsimile copy of the judgment sent to him by the district court on September 7, 1999 and received by him that day, was sufficient to trigger the running of the seven-day period here at issue. In Ryan v. First Unum Life Ins. Co.,24 the Second Circuit squarely addressed the issue whether a notice that was not formally served pursuant to Fed.R.Civ.P. 77(d) and 5(b) was sufficient to start the seven-day clock under subpart (A). In that case, counsel obtained a copy of the judgment from the clerk’s office on the day after an investigator affiliated with counsel’s law office had ventured to the clerk’s office, been informed orally that judgment had been entered, and so advised counsel, who then obtained a copy from the clerk’s office. The section (6) reopening motion in Ryan was filed within 180 days after entry of judgment but not within seven days after counsel had obtained in-hand a copy of the judgment. Rejecting the contention that subpart (A) requires formal Fed. R.Civ.P. 77(d) and 5(b) mail service of a copy of the judgment, the Ryan court held that when “a party’s attorney receives from the Clerk in-hand, written notice indicating that judgment was entered, a motion to re-open must be filed within the subsequent seven days.”25 In so holding, the Ryan court rejected counsel’s argument that receipt from the clerk in-hand rather than by mail pursuant to Rule 77(d) was not “proper notice,” precisely the argument advanced by counsel for Wilkens which, like the Second Circuit, we reject today.
Given the plain wording of Rule 4(a), our reasoning in Bass,26 and the reasoning of those other circuits that have addressed the issue, we are unable to discern a distinguishing difference between counsels’ *334receipt of copies of the judgments following their requests in Bass and Ryan, on the one hand, and the receipt of the written facsimile copy of the judgment by Wilkens’s counsel, on the other hand. All circuits that have addressed this aspect of the rule have concluded that receipt of written notice by counsel for the potential appellant starts the seven-day clock of sub-part (A) on the day of receipt, even though not served by mail from the district court in strict compliance with Fed.R.Civ.P. 77(d) and 5(b). Any contention that such notice must emanate from the court or a party, or that it must be served by mail pursuant to Rule 5(b), runs counter to the plain wording of Rule 4(a) and section (6) in general, and counter to the plain wording of subpart (A) and the teachings of our opinion in Bass27 and the cases from other circuits in particular. Counsel’s argument that his receipt of notice by fax from the clerk of the district court was not “proper notice” or “formal notice,” implying that subpart (A) specifies some sort of formal requirements, widely misses the mark. It has no foundation in the words of the applicable rules or case law.
Finally, counsel for Wilkens suggests, in the alternative, that “pursuant to [Fed.R.App.P.] 2, [this court] should suspend the requirements of Rule 4(a)(5) or (6) ... so that justice may be done.”28 But even if we were inclined to do so because, inter alia, Wilkens is in custody awaiting execution, we could not take the action that is suggested by counsel. Although, as a general proposition, Rule 2 authorizes us to suspend the Federal Rules of Appellate Procedure for “good cause” in a particular case, Rule 2 is not an unconditional, roving warrant for us quixotically to “do justice.” We cannot ignore the express caveat of Rule 2’s final phrase, “except as otherwise provided in [Fed. R.App.P.] 26(b).” And, even though Rule 26(b) authorizes us to “extend the time prescribed by these Rules” or to “permit an act to be done after the prescribed time has expired,” this same rule expressly forbids us to do so when the prescribed or expired time in question is the time for filing an NOA!29 Indeed, Rule 26(b) states unequivocally that we “may not extend the time to file:”
“(1) a notice of appeal (except as authorized in Rule 4).... ”
Today’s entire self-examination of oür appellate jurisdiction turns on the extension and reopening provisions of Rule 4(a). And, together, Rules 2 and 26(b) bring us right back to Rule 4(a), precisely where we were when we detoured to consider Wilk-ens’s alternative invitation to do justice by *335(mis)applying Rule 2. On this alternative entreaty, our hands are tied.
III.
CONCLUSION
To recap, the district court’s judgment denying habeas relief in this ease was entered on June 18, 1999. The clerk of the district court appears to have served notice of the entry of judgment that day by mail to counsel for each party, in compliance with Fed.R.Civ.P. 77(d) and 5(b).30 That neither Wilkens nor his counsel ever received this notice, however, is not contested.
Also uncontested is the fact that the first notice of entry of judgment ever received by counsel for Wilkens was oral, via telephone, from staff counsel for the district court on September 7, 1999; neither is it contested that the oral notice was followed immediately by the court’s faxing of a copy of the judgment, or that the fax was received by counsel for Wilkens at his law office later that day. Counsel never received notice of entry of judgment within 60 days after entry, so that extension under Rule 4(a)(5) was unavailable to Wilk-ens.
Additional undisputed facts demonstrate that, even though Wilkens was entitled to service of the notice of entry of judgment, and even though notice appears to have been served, neither Wilkens nor his attorney received notice of entry of judgment from the court or any party within 21 days after entry. Wilkens thus cleared the first hurdle to entitlement to reopening under Rule 4(a)(6): Subpart (B)’s 21 days provision was not an impediment to his filing a motion for reopening, and he did in fact file such a motion within the 180-day outer limit for doing so.
Not until almost a month after receiving the fax copy of the judgment from the court on September 7, 1999, however, did Wilkens’s lawyer file a motion in the district court for leave to file a late NOA, which we construe as a Rule 4(a)(6) motion to reopen. About one week after that, the district court granted Wilkens’s motion and counsel filed Wilkens’s late NOA. This all took place well before the expiration of subpart (A)’s 180-day period following entry of judgment, but well after the expiration' of subpart (A)’s seven day period following receipt of notice of entry, the earlier of the times within which Wilk-ens had to file his motion to reopen.
Subpart (A) of Rule 4(a)(6) speaks only of receipt of notice: It says nothing at all about who must send the notice; nothing at all about how the notice must be sent, delivered, or received; nothing at all about the physical qualities of the notice — just plain, unadulterated “receives notice of the entry.” Here, a written copy of the judgment was (1) sent by the court (2) via fax (3) to counsel’s law office where it was printed out by his office fax machine and from there received in hand by counsel of record. Yet Wilkens’s counsel filed no motion to reopen the time for filing an NOA, or any other pleading for that matter, during the ensuing period of seven days allowed by subpart (A). Thus the motion he finally did file, several weeks after receiving the written notice via fax— and the order that the district court signed and entered another eight days after that, purporting to grant that motion — were without any legal effect whatsoever.
Moreover, even if, in the alternative, we were inclined to rescue Wilkens’s otherwise void NOA by invoking Rule 2 “to prevent manifest injustice,” we could not. As recognized by the Advisory Committee Notes, Rule 26(b) expressly proscribes using Rule 2 to extend the time for filing an NOA.31
Because Wilkens’s motion of October 4, 1999 is an absolute nullity, the court’s order of October 12 purporting to reopen the *336time for filing is an absolute nullity, in turn making Wilkens’s October 12 NOA an absolute nullity. As Wilkens never timely filed a notice of appeal, we have no jurisdiction to hear his complaint that the district court erred in denying habeas relief.
APPEAL DISMISSED.

. Benavides v. Bureau of Prisons, 79 F.3d 1211, 1213 (D.C.Cir.1996).


. A June 18, 1999 docket entry in the district court record of this case states: “Final Judgment that this petition for writ of habeas corpus is DENIED. All motions by either party not previously ruled on are hereby DENIED. (Signed by Judge Paul Brown) cc: Attys. 6/18/99 (baf).“ Fed.R.Civ.P. 77(d) directs the clerk to "serve a notice of the entry [of judgment] by mail in the manner provided for in Rule 5,” which specifies mailing to the party or his attorney at the attorney’s last known address. Rule 5 also provides that "[s]ervice by mail is complete upon mailing." (Emphasis added).


.This docket entry indicates that the deputy clerk who made the docket entry, “(tm)” (initials of Toya McEwen), "[f|axed Memorandum Order and Final Judgment to M. Breding per request of staff atty.” Then as now, counsel of record for Wilkens was Mark W. Bred-ing, Esq., Tyler, Texas.


. United States v. Key, 205 F.3d 773, 774 (5th Cir.2000); Mosley v. Cozby, 813 F.2d 659, 660 (5th Cir.1987).


. Vincent v. Consolidated Operating Co., 17 F.3d 782, 785 (5th Cir.1994).


. Beers v. North American Van Lines, Inc., 836 F.2d 910, 912 (5th Cir.1988).


. Dison v. Whitley, 20 F.3d 185, 186 (5th Cir.1994).


. Fishery. Baker, 203 U.S. 174, 181, 27 S.Ct. 135, 51 L.Ed. 142 (1906).


. Fed.R.App.P. 4(a)(1)(A).


. Fed.R.App.P. 4(a)(5).


. Fed.R.App.P. 4(a)(6).


. Rule 4. APPEAL AS OF RIGHT—

(а) Appeal in a Civil Case

(б) Reopening the Time to File an Appeal. The district court may reopen the time to file an appeal for a period of 14 days after the date when its order to reopen is entered, but only if all the following conditions are satisfied:
(A) the motion if filed within 180 days after the judgment or order is entered or within 7 days after the moving party receives notice of the entry, whichever is earlier;
(B) the court finds that the moving party was entitled to notice of the entry of the judgment or order sought to be appealed but did not receive the notice from the district court or any party within 21 days after entry; and
(C) the court finds that no party would be prejudiced.


. Id.


. Referring to Rule 4(a)(l)'s 30-day period for filing a notice of appeal and the party's entitlement of mail service of notice of entry of judgment from the clerk of the district court pursuant to Fed.R.Civ.P. 77(d).


. Absence of prejudice is the only substantive requirement for the district court to have authority to grant a reopening order. Such an order differs from an extension order under section (5), which requires the movant to demonstrate either good cause or excusable neglect — standards clearly more onerous than absence of prejudice and just as clearly inapplicable to section (6). We assume that Wilk-ens met subpart (C)’s prejudice test. This assumption is strengthened by, inter alia, the district court’s grant of Wilkens's motion and the Respondent's filing of a Notice to Court of Non-Opposition to Petitioner's Out of Time Appeal on March 6, 2000, in response to our show cause order of January 27, 2000.


. See Bass v. U.S. Dep’t of Agric., 211 F.3d 959, 963 (5th Cir.2000) (holding that oral notice of the judgment is insufficient under Rule 4(a)(6)).


. The Second Circuit, in Ryan v. First Umun Life Ins. Co., 174 F.3d 302 (2nd Cir.1999), has read into subpart (A) the additional requirement that, when a party is represented by counsel, notice must be received by counsel. Although we perceive no such requirement, that issue is not before us, as the fax copy of the judgment at issue here was received in hand by counsel of record for Wilkens; so anything we might say on that subject would be dicta. We therefore leave that point for another day.


. Id. As the notice received by counsel for Wilkens was written (fax) and was furnished by the district court, this case is distinguishable from Benavides, 79 F.3d 1211 (D.C. Circuit 1996), in which the notice was neither written nor furnished by the court or a party — both factors relied on by the D.C. Circuit in concluding that oral notice from a third party is insufficient for purposes of subparl (A). With all due respect, we disagree with the portion of the Benavides opinion that would require subpart (A)’s notice to come from the clerk (now, the court) or a party. Although the crediting of oral notice under subpart (A) is foreclosed in this Circuit by Bass, supra n. 16 —and is not presented to us today' — we see the question of the identity of the furnishers of notice as inapposite to sub-part (A). The Benavides court, at 1214, obviously — and, we believe, erroneously — lifted the phrase, "from the [court],’’ from subpart *333(B) and its 21-day requirement, engrafted that phrase onto subpart (A), and applied it to the seven-day provision, all without any statutory basis lo do so. As we have demonstrated in detail, the statutory language of subpart (A) is not, in our opinion, susceptible of such construction, whether read alone or in context of 4(a) as a whole.


. 52 F.3d 792, 794 (9th Cir. 1995).


. 32 F.3d 357, 359 (8th Cir.1994). But cf. Bass, supra n. 16.


. 134 F.3d 427 (1st Cir.1997), cert. denied 523 U.S. 1003, 118 S.Ct. 1184, 140 L.Ed.2d 315 (1998).


. Id. at 434.


. Id. at 435.


. 174 F.3d 302 (2d Cir. 1999).


. Id. at 305.


. 211 F.3d 959 (5th Cir.2000).


. Id.


. Counsel for Wilkens purports not to know whether the district court proceeded under subsection (5) or subsection (6) of Rule 4(a) but, despite the fact that neither his motion nor the court's order identifies the source rule, we must assume that the court was reopening the time to file. As we have shown, extending the time to appeal under subsection (5) had long since ceased to be a viable option by the time, on October 4, 1999, Wilkens filed his motion for leave to file his NOA out of time, as well as by the time, on October 12, 1999, the court granted the motion and Wilk-ens filed his NOA. Not only does Rule 4(a)(5) say nothing about a party’s receipt of notice of entry of judgment, subparl (5)(C) specifies in mandatory terms that no extension may exceed 30 days after the prescribed 30-day time for appeal, i.e., 60 days after entry of judgment, or 10 days after the date on which the order granting the motion for extension is entered, whichever is later. As it is undisputed that no motion was filed within the 30 + 30 period of 60 days, there could have been no order granting a motion to extend the time for filing a notice of appeal, only one reopening the time. So, despite the absence of an identifying label in either the motion or the order, counsel for Wilkens has to know that the court's order was a “reopening” under Rule 4(a)(6) if it were anything at all.


.See Fed. R.App. P. 2, Advisory Committee Notes, 1967 Adoption ("This rule contains a general authorization to the courts to relieve litigants of the consequences of default where manifest injustice would otherwise result. Rule 26(b) prohibits a court of appeals from extending the time for taking appeal or seeking review. ”)(emphasis added).


. See Fed.R.Civ.P. 5(b)("Service by mail is complete upon mailing”).


. See supra n. 26.

